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           EXHIBIT 4
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THE INCREDIBLE MEGA HUGE
PIGSKIN MATCH CONCEPTS

ENJOY

                                                                    BETTY00055
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Concept: All Kinds/Living Jukebox
There is no one correct way to experience joy. It’s different for everyone and that should
be celebrated.

The spot starts outside a giant Brooklyn(like) warehouse. We’re given the camera per—
spective of someone walking in. Outside the door, a man plays an acoustic guitar singing
an acoustic rendition of the Joy of Pepsi. As we enter the warehouse the genres start to
change and unfold while the song remains the same and continues in the spot the acous-
tic singer Ieft off. We travel through various rooms where we experience the song in differ—
ent genres. As each genre changes so does the fashion, clothes, and vibe of the room.

Rock-Rap-Jazz/Swing-ClassicaI-MetaI-etc

Think for reference going from a metal interpretation of the Joy of Pepsi to a lone singer
with an Adele like quality with a single beam of light shining on her. Think of going from
rock an upright bass plucking out the “ba ba ba ba be”

The spot ends walking out the other side of the warehouse where a doo wop/acapella
crew is standing around a fire lit in a trash can.

V/O or title: Joy takes all kinds. Pepsi.


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Concept: The Immortality of Now.
Tells the story of 3 age groups-capturing moments of pure shared joy through 3
generations of today.
-The very young (12-14) Theme: First love
-core audience (20-28) Theme: Comraderie/Friendship
—elderly (65-75) Young at heart
Set to Nicki Minaj’s “The Night is Still Young.”
Stories are told in a non linear fashion and through quick montages. 10 second per story.
Easter eggs that tie each story together showing the events are happening concurrently.

Youth—  A very tastefully done, innocently treated spin the Pepsi bottle where boy gets kissed on cheek
left with stars in his eyes with joy. Think a picnic table at night with a group of kids sitting around under
red and blue bulbs illuminating the yard and an empty Pepsi bottle in the middle.

Elderly- Staying up all night till sunrise. Driving in a convertible. They light off fireworks/roman candles
in Pepsi cans and bottles on a beach. Fireworks are red and blue. When we cut back to the youth, a
firework goes off in the background.

Core audience— Group of friends at bar/nightclub. One guy buys a random girl a Pepsi. While ap—
proaching her, his best friend “pants” him to reveal cartoon underwear. She pulls up her underwear a
bit or reveals a tee shirt that has the exact same cartoon on hers. Neon bar decor is blue and red.

End on 3 key close up slow mo shots: The look on the boys face.
The elderly woman with head out the car window or standing up in a convertible at night with wind in
her hair and soft neon glow on her face.
The uncontrollable laughter of one of the core team
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Concept
Key lines in the song
“The night is still young, and so are we.”
“Live in the present that gift is for the gifted.”
“Aim for the stars, make mistakes though.”
“How dare we sit quietly, and watch the world pass us bye.”




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Concept: Flop Joy
Spot starts with a group of young friends hiking through a jungle. They come up to
the side of cliff overlooking an amazing waterfal| pouring out endless Pepsi.

Friend #1: (Purposefully stupid sounding) We found it! The Pepsi Waterfall of Joy.
Friend#2: (Purposefully stupid sounding) Only great things happen here!

They run up to the cliff side to fill up their bottles.

Friend #3 runs up, slips on moss, does a backﬂip and proceeds to fall down into the
water below, a 100 foot fall (maybe through a cloud) belly flop for the ages. We see him fall in a profile
view and make the loudest smack ever.

A turtle on the lagoon floor gasps an inhale in horror “hggghhhh”
Zoom up to the friends who gasp an inhale in horror “hughhhhh”
Zoom up to an eagle who gasps an inhale in horror “hghhhhhh”
Zoom up to aliens on a ship who gasp an inhale in horror “hghhhh”
Zoom up to God who gasps an inhale in horror “hghhhhh”

Friend #3 pops up unharmed with a huge smiley face (rainbow?) mark on his
stomach and chest. “That was so refreshing! Or “That felt amazing”

Quick cuts of giant relief exhales starting from God and zooming all the way back to
the turtle. The collective exhale makes a gust of wind that blows the trees bent
sideways.

Belly Flop guy looks around at wind gust: Nice breeze. Takes a swig.
Endcard:                                                                                             BETTYOOOGO
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Virtually identical execution as Flop Joy except we use a group of former NFL player friends who are in
search of the fountain of youth and end up finding the Pepsi Waterfall of Joy.

Think John Elway, Emmit Smith, Joe Namath, Joe Montana etc.

Consider CGI-ing or utilizing old footage of one star to bring him back to youth when he
falls in the waterfall.




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Concept: Smile.
The spot follows a celebrity
notorious for not showing joy
in front of cameras,Kanye
West.

Kanye has gone to extreme
measures to not smile when
on camera wherever he is —
basketball games, red car—
pets, fashion shows etc. But
in our spot, when a Pepsi
comes along, he can’t help
but let out an impossibly
large smile. 80 large it is ri-
diculous. Achieved via pros-
thetic makeup or CGI.
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Concept: Smile.
We see Kanye at a basketball game on the sidelines. The camera catches him and he
gives his signature too serious to smile look. His song “Power” is playing in the spot. A
vendor hands him a pepsi- “Why do birds suddenly appear” Intrupts “Power”
A ginormous smile comes over his face and is projected on the jumbotron.

We see him at a fashion show. (same song device. maybe with different songs)
An usher hands him a Pepsi— Ridiculous smile
We see him on the red carpet, an assistant hands him a Pepsi- huge smile for
paparazzi (same song device. maybe with different songs).

We finish with him finishing his Pepsi, going back to his super serious self but then crack-
ing a real, authenitc (not impossibly large) smile. End Card: The Joy of Pepsi
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HALFTIME
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Concept: Parallel Universe.
Works both with and without tie in with halftime Show.

4 guys are sitting in a booth at a diner. The Pepsi’s they ordered are placed on their
table....

Dan: “80 what do you wanna do?” He cracks his can.
They are transported to the 703 in a disco club. One guy has a moustache, one has a
porkchop sideburns, one an afro. They’re all in 703 get up holding their Pepsi’s (maybe
the cans turned into 70’s cans). They are doing sycnchronized expert disco moves like
champions. After a couple beats Bill says:

“How are we doing this?” and cracks his can.

They are now sitting 2 and 2 opposite each other in a limo. 2 guys, 2 girls.

Dan:     Where did Bill and Steve go?

Two girls:         “(In man voices) “We’re right here.

Scott:      Bill, you’re so hot.

He reaches out to touch him, Bill leans back and cracks his can
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             Concept: Parallel Universe.
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             They’re transported. They land in a library with elevator music playing and without a word
             being said in literally 1 second Steve cracks his....

             They land in a planet that only has beautiful women.
             Woman: Men?? They do exist...

             5th guy walks in from off camera. Hey guys sorry I’m late...goes to open his can.

             Everyone yells: NOOOOOOO

             Crack—End tag: Wherever the night takes you.

             They and up at the halftime show, in real life. Linking the TVC to the halftime show.
             Looking around amazed and raising their arms in victory.




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Concept: The Joy Anthem
-Tight shot of a sneaker playing a driving and building beat on a kick drum
(think Bruce Springsteen type of rhythm.)
 ~Tight shot of power chord on a guitar neck. Matches rhythm of drums.
 ~Tight shot of a guitar pick laying on top of a bass amplifier. A gulp and “Ah!”
    are heard off-camera. A hand comes into the frame and places a Pepsi
    down on the amp, retrieves the pick, and a bass guitar is heard joining in
    the rhythm.
~Panning-out shot of the drumset. Seen to be hip, young kid
    wearing sunglasses.
-Shot starts tight on a hand gripping a mic, pans out to reveal kid poised to
    belt out a tune. Comes in off key. Music cuts. Everyone laughs.
-Wide shot of everyone. Singer, sipping Pepsi, “Let’s go again.”




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Concept: Dominos
-Proper-sounding, older gentleman narrates, “And now, Pepsi presents:
   15 seconds of Pepsi Dominos.
~Tracking shots to demonstrate a long, snaking line of party-goers at a large house
   (think Beverly Hills bachelor pad) all with Pepsi cans in their hands and ready to
   pop the tabs.
fCamera reaches beginning of line. Man in party attire (think college kid
   in a viking hat) announces, “THREE. TWO. ONE.”
-As he speaks into the megaphone we see tight shots of nervous fingers on can tabs.
   and a tight shot of mouth exhaling to keep calm.
oViking hat man concludes, “PEPSI!”
-Cans erupt in brilliant fashion. The perfect cadence is documented by tracking shots
   following the snaking line of bros and bro—ettes around the fancy party pad.
~Fina| row of tabs pop when suddenly the sound stops. Camera reaches
   a fumbling guy who can’t seem to get the can open. Flustered, announces,
   “I can’t get it!”
~Fade to black/logo as entire party erupts in a mixture of laughter, “c’mon man”, etc.

Girl walk in frame pops it and pats him on the back or hands him a twist off and pats
him on the back


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Concept: Perfect 10.
Spot takes place at a diving competition.

We hear the announcer. This Chinese diver really is something else.

Chinese diver does a two and a half twist off the spring board into a near perfect entry
with very minimal splash.

Announcer: Team USA really has they’re work cut out for them. It’s all on Chuck
Donoghue’s final dive, the triple back cannonball.

Chuck is an average joe. No real muscle mass. Maybe slightly overweight. He’s a hairy
dude in a speedo. Takes a sip of his Pepsi. He does a beautiful springboard jump up and
back on the board and then back up, launchinig off the board into a triple back cannon—
ball.

He enters the water with literally zero splash. Nothing. Just a little noise “bloop.”

The place erupts. All his teamates jump in the pool.
The final shot is the whole team on the side of the pool with Chuck in the center. They do
a cooler dump on him in celebration but instead of liquid coming out it’s just a bunch of
blue Pepsi cans and ice.
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